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1    Paul L. More, SBN 228589
2    F. Benjamin Kowalczyk, SBN 316796
     McCRACKEN, STEMERMAN & HOLSBERRY
3    595 Market Street, Suite 800
4    San Francisco, California 94105
     Tel. No.:   (415) 597-7200
5    Fax No.:    (415) 597-7200
6    E-mail:      pmore@msh.law
                  fbkowalcyzk@msh.law
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8    Attorneys for Petitioner
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10                         UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
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       INTERNATIONAL BROTHERHOOD                   Case No.: 18-cv-01772
14     OF TEAMSTERS, LOCAL 396,
15
                          Petitioner,              TEAMSTERS LOCAL 396’s
16
                   vs.                             PETITION TO COMPEL
17                                                 ARBITRATION
18     MADISON MATERIALS.; and DOES I
       through X,                                  [29 U.S.C. § 185(a); 9 U.S.C. § 4]
19
20                        Respondent.
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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                       CASE NO.
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 1         1.     This petition to compel arbitration is brought pursuant to Labor-
 2   Management Relations Act (“LMRA”) § 301, 29 U.S.C. § 185. Petitioner Teamsters
 3   Local 396 (the “Union”) and Respondent Madison Materials (“Madison”) were parties
 4   to a Memorandum of Agreement that required Madison to engage in interest arbitration
 5   over unresolved terms in their initial collective bargaining agreement. Madison
 6   materials refuses to engage in interest arbitration over such unresolved terms, despite its
 7   contractual promise to do so.
 8         2.     The Memorandum of Agreement provides that any party that
 9   unsuccessfully resists arbitration shall pay the other party’s legal fees in enforcing the
10   MOA. Accordingly, and because Respondent Madison’s refusal to arbitrate is without
11   substantial justification, Petitioner Teamsters Local 396 (the “Union”) requests that the
12   Court award the Union its legal fees and costs in bringing this action.
13                                            PARTIES
14         3.     Petitioner Teamsters Local 396 is a labor organization as that term is
15   defined in Section 2(5) of the Labor-Management Relations Act, 29 U.S.C. § 152(5),
16   representing employees in an industry affecting commerce. The Union’s principal office
17   is at 880 Oak Park Rd. #200 in Covina, California.
18         4.     Respondent Madison is a California corporation that maintains its principal
19   office at 1035 East 4th Street in Santa Ana, California.
20                                        JURISDICTION
21         5.     This Court has jurisdiction over this dispute pursuant to 28 U.S.C. § 1331,
22   Section 301 of the Labor Management Relations Act (“LMRA”), 29 USC § 185, and
23   Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4.
24                                             VENUE
25         6.     Venue is in this this Court is proper under 28 U.S.C. § 1391, 29 U.S.C.
26   §185 and 9 U.S.C. § 4.
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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                             CASE NO.
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 1                                FACTUAL ALLEGATIONS
 2         7.     The Union and Madison entered into a Memorandum of Agreement on
 3   October 15, 2014. A copy of that Memorandum of Agreement is attached as Exhibit A
 4   to this Petition. The MOA sets forth ground rules that both sides will follow in the event
 5   that the Union seeks to organize certain of Madison’s employees.
 6         8.     Under the MOA, the Union promises that it will not engage in striking,
 7   picketing, or other economic activity at Madison’s facility. In accord with the MOA, the
 8   Union has not exercised its federal statutory and constitutional rights to take economic
 9   action against Madison.
10         9.     In return for the Union’s promise that it will not take economic action
11   against Madison, the MOA requires that Madison take a neutral approach to
12   unionization of covered employees, and that it not “do any action nor make any
13   statement that will directly or indirectly state or imply any opposition by the Employer
14   to the selection by such Employees of a collective bargaining agent[.]”
15         10.    The MOA affords the Union other rights, including a limited right of access
16   to Madison’s property in order to communicate with covered employees and the right to
17   certain contact information about those employees.
18         11.    The MOA contains procedures for determining whether a majority of
19   covered employees have selected the Union to be their exclusive representative.
20   Specifically, Madison and the Union agreed that an arbitrator would review
21   authorization cards of Madison employees stating that they wish to be represented by the
22   Union to determine whether a majority of those employees had authorized the Union to
23   be their representative.
24         12.    On October 2, 2017, Arbitrator Frederic Horowitz conducted a review of
25   Madison employees’ authorization cards and determined that a majority of Madison
26   employees wished to be represented by the Union. Representatives of the Union and
27   Madison signed a verification attesting that the Union is the exclusive representative for
28   a unit at the Employer’s facility, effective October 5, 2017.

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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                           CASE NO.
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 1         13.    Paragraph 10 of the MOA provides: “If the Union is recognized as the
 2   exclusive collective bargaining representative as provided in paragraph 9, negotiations
 3   for a collective bargaining agreement shall be commenced immediately and conducted
 4   diligently and in good faith to the end of reaching agreement expeditiously. If the
 5   parties are unable to reach agreement on a collective bargaining agreement within 90
 6   days after recognition pursuant to Paragraph 9, all unresolved issues shall be submitted
 7   for resolution to final and binding arbitration pursuant to Paragraph 14.” The MOA sets
 8   forth factors that will guide the arbitrator in an interest arbitration determining the
 9   contents of the parties’ collective bargaining agreement.
10         14.    The Union immediately sought to negotiate with Madison over the terms of
11   the collective bargaining agreement that would apply to Madison employees. It sought
12   dates from Madison on which its representatives would be prepared to negotiate.
13   However, Madison’s representatives ignored these requests for negotiation dates, or
14   claimed that they were too busy to meet with the Union. Madison representatives did
15   not agree to an initial negotiating session until January 10, 2018.
16         15.    The Union presented its collective bargaining proposals on January 10,
17   2018. It sought to schedule further bargaining dates to continue collective bargaining
18   negotiations, but Madison representatives again declined to provide dates. Madison
19   representatives did not agree to meet again with the Union until March 22, 2018.
20         16.    At the March 22, 2018 negotiation session, however, Madison
21   representatives declined to negotiate with the Union, claiming that they would not do so
22   until there had been another election by Madison employees to demonstrate that they
23   wished to be represented by the Union, even though Madison employees had already
24   demonstrated their desire for the Union’s representation through the process agreed upon
25   by Madison and the Union.
26         17.    Under the MOA, if the parties were “unable to reach agreement on a
27   collective bargaining agreement within 90 days after recognition . . . all unresolved
28   issues shall be submitted for resolution to final and binding arbitration[.]”

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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                              CASE NO.
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 1         18.       On March 30, 2018, the Union moved all unresolved collective-bargaining
 2   issues to interest arbitration, notifying that arbitrator and requesting hearing dates. On
 3   April 4, 2018, Madison’s representative responded to the arbitrator, stating that Madison
 4   refused to engage in interest arbitration.
 5         19.       Madison subsequently filed unfair labor practice charges against the Union,
 6   alleging that the Union’s invocation of the MOA’s interest arbitration clause somehow
 7   violated the Union’s duty to negotiate in good faith with Madison under the National
 8   Labor Relations Act. Region 21 of the National Labor Relations Board dismissed
 9   Madison’s unfair labor practice charge on August 23, 2018.
10                                       CAUSE OF ACTION
11               [Petition to Compel Arbitration, LMRA § 301, 29 U.S.C. § 185]
12         20.       The Union incorporates Paragraphs 1-19 as if expressly set forth herein.
13         21.       The Memorandum of Agreement is a labor-management agreement
14   governed by LMRA § 301, 29 U.S.C. § 185. Hotel & Restaurant Employees Union
15   Local 2 v. Marriott Corp., 961 F.2d 1464 (9th Cir. 1992).
16         22.       Madison has a current and ongoing contractual obligation to engage in
17   interest arbitration over unresolved issues in its initial collective bargaining agreement
18   with the Union. Madison has failed to comply with that obligation, and the Court should
19   now compel Madison to do so.
20                                      RELIEF REQUESTED
21         Wherefore, the Union requests that the Court issue an order:
22         1.        Directing NASA to proceed to interest arbitration under the MOA.
23         2.        Awarding the Union’s attorneys’ fees for all work performed in this
24   lawsuit, and retaining jurisdiction to hear a supplemental motion concerning the amount
25   of such fees.
26         3.        All other relief that the Court deems appropriate.
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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                             CASE NO.
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 1   Dated: September 28, 2018      Respectfully submitted,
 2                                  /s/ Paul L. More
 3                                  Paul L. More, SBN 228589
                                    F. Benjamin Kowalczyk, SBN 316796
 4                                  McCRACKEN, STEMERMAN & HOLSBERRY
 5                                  595 Market Street, Suite 800
                                    San Francisco, California 94105
 6                                  Tel. No.:    (415) 597-7200
 7                                  Fax No.:     (415) 597-7200
                                    E-mail:       pmore@msh.law
 8
                                                  fbkowalczyk@msh.law
 9
10                                  Attorneys for Petitioner
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     TEAMSTERS LOCAL 396’s PETITION TO COMPEL ARBITRATION                   CASE NO.
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                            Exhibit A
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                                MEMORANDUM OF AGREEMENT
         THIS AGREEMENT is made and entered into by and between Madison Materials
  (hereinafter the “Employer”), and Teamsters Local Union No. 396 (the “Union”).
          1.      This Agreement shall cover all employees employed in dassifications listed in
  Exhibit A, or in classifications called by different names when performing similar duties,
  (referred to hereinafter as “Employees”) at any and all facilities operated by the specifically
  named and referenced Employer located within the territorial jurisdiction of the Union
  (hereinafter referred to as the “facilities”) which during the term of this Agreement is owned by,
  operated by or substantially under the control of the Employer.
         2.     The parties hereby establish the following procedure for the purpose of ensuring
  an ordeily environment for the exercise by the Employees of their rights under Section 7 of the
  National Labor Relations Act and to avoid picketing andfor other economic action directed at
  the Employer in the event the Union decides to conduct an organizing campaign among
  Employees.
          3.      The parties mutually recognize that national labor law guarantees employees
  the right to form or select any labor organization to act as their exclusive representative for the
  purpose of collective bargaining with their employer, or to refrain from such activity.
        4.     The Employer will take a positive approach to the unionization of its Employees.
 The Employer will not do any action nor make any statement that will diredily or indirectly state
 or imply any opposition by the Employer to the selection by such Employees of a collective
 bargaining agent, or preference for or opposition to any particular union as a bargaining agent.
        5.      The Union and its representatives will not coerce or threaten any Employee in
 an effort to obtain authorization cards.
           6.      Whenever the Employer finds it necessary to hire new Employees for vacancies
  in job classifications covered by this Agreement at the facilities, the Employer shall notify the
   Union to request applicants for such vacancies. When requesting applicants, the Employer
  shall state the qualifications applicants are expected to possess. The Union may furnish
  applicants for the job vacancies specified by the Employer. The Union’s selection of
  applicants for referral shall be on a non-discriminatory basis and shall not be based upon or~
  any way affected by membership in the Union or the Union’s bylaws, rules, regulations,
  constitutional provisions, or any other aspects or obligation of Union membership policies or
  requirements, or upon personal characteristics of an applicant where discrimination based
  upon such characteristics is prohibited by law. When hiring employees, the Employer shall
  give priority to applicants (hereafter, “displaced applicants”) who performed work for a solid-
 waste that performed commercial or residential solid-waste hauling in the City of Los Angeles
  under an P2939 permit until displaced by a “franchisee”, as that term is defined in City of Los
 Angeles Municipal Code, Chapter VI, Article 6, § 66.33.1(4). If a displaced applicant is
 qualified for the position applied for, the Employer shall offer such position to the displaced
 applicant. The Employer agrees that any interest demonstrated by an applicant in joining the
  Union shall not constitute grounds for discriminatory or disparate treatment nor adversely
  impact the applicant’s ability to be hired by the Employer. The Employer shall be the sole
 judge of an applicant’s suitability, competence and qualifications to perform the work of any job
 to be filled.
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         7.      If the Union provides written notice to the Employer of its intent to organize
  Employees covered by this Agreement, the Employer shall provide access to its premises and
  to such Employees by the Union. The Union may engage in organizing efforts in non-public
  areas of the facilities during Employees’ non-working times (before work, after work, and
  during meals and breaks) and/or during such other periods as the parties may mutually agree
  upon. “Organizing” includes communicating with Employees before and after recognition of the
  Union as provided in Paragraph 9. At the Union’s request, the Union and Employer will
  provide a joint letter to all Employees, summarizing the terms of this Agreement in language
 approved by both the Employer and the Union. The Employer will post this letter
 conspicuously in one or more non-public areas where other notices to Employees about their
 jobs are posted.
        8.      Within ten (10) days following receipt of written notice of intent to organize
  Employees, the Employer will furnish the Union with any Employer handbook issued to
  Employees, as well as a complete list of Employees, including both full and part-time
  Employees, showing their job classifications, departments, seniority dates, wage rates, health
  and welfare benefits, home addresses, phone numbers and email addresses, to the extent
  known by the Employer. Thereafter, the Employer will provide updated complete lists monthly.
          9.     The Union is not presently recognized as the exclusive collective bargaining
  representative of the Employees. The Union may request recognition as the exclusive
  collective bargaining agent for such Employees subject to paragraph fifteen (15). The
 Arbitrator identified in Paragraph 14, or another person mutually agreed to by Employer and
  Union, will conduct a review of Employees’ authorization cards and membership information
  submitted by the Union in support of its claim to represent a majority of such Employees.
  Confidentiality of Union support or opposition shall be maintained in such review. If that
  review establishes that a majority of such Employees has designated the Union as their
 exclusive collective bargaining representative or joined the Union, the Employer will recognize
 the Union as such representative of such Employees. The Employer will not file a petition with
 the National Labor Relations Board for any election in connection with any demands for
 recognition provided for in this agreement or file a notice of voluntary recognition with the
 NLRB, so that the decision of when and whether to provide such notice is within the sole
 discretion of the Union. If the Union notifies the NLRB of recognition pursuant to this
 Agreement, the Employer shall post the NLRB notice of recognition in accordance with the
 instructions from the NLRB immediately upon receipt of the notice. The Union and the
 Employer agree that if any other person or entity petitions the National Labor Relations Board
 for any election as a result of or despite recognition of the Union pursuant to this Paragraph,
 (a) if the NLRB notice has been posted for 45 days before the petition is filed (a condition that
 applies only to this subparagraph (a)), the Employer and the Union will each request that the
 NLRB dismiss the petition on grounds of recognition bar or, if they have agreed to a collective
 bargaining agreement covering Employees at the time the petition is filed, on grounds of
 contract bar, (b) if the petition is not dismissed, the Employer and the Union shall agree to a
 lull consent election agreement under Section 102.62(c) of the NLRB’s Rules and Regulations,
 and (c) the Employer and the Union shall at all times abide by the provisions of this Agreement
 except that the Union may file unfair labor practice charges. Except as provided above, the
 Union and the Employer will not file any charges with the National Labor Relations Board in
 connection with any act or omission occurring within the context of this agreement; arbitration
 under Paragraph 14 shall be the exclusive remedy.
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           10.     If the Union is recognized as the exclusive collective bargaining representative
   as provided in paragraph 9, negotiations for a collective bargaining agreement shall be
   commenced immediately and conducted diligently and in good faith to the end of reaching
   agreement expeditiously. If the parties are unable to reach agreement on a collective
   bargaining agreement within 90 days after recognition pursuant to Paragraph 9, all unresolved
   issues shall be submitted for resolution to final and binding arbitration pursuant to Paragraph
   14. The arbitrator identified in paragraph 14 below shall be the arbitrator, unless another
   arbitrator is mutually agreed to by the parties. The arbitrator shall be guided by the following
   considerations among others: a) Employer’s financial ability; b) size and type of the
   Employer’s operations; c) cost of living as it affects the Employer’s employees; d) ability of the
   employees, through the combination of wages, hours and benefits, to earn a lMng wage to
   sustain themselves and their families; and e) employees’ productivity.
          11.     During the temi of this Agreement, the Union will not engage in striking,
  picketing or other economic activity at the facilities, and the Employer will not engage in a
  lockout of the Employees. Notwithstanding the termination provision above, if the Employer
  recognizes any organization besides the Union as the exclusive collective bargaining
  representative of Employees, or any of them, this paragraph shall terminate immediately and
  without notice.
            12.      In the event that the Employer sells, transfers, or assigns all or any part of its
  right, title, or interest in the facilities or substantially all of the assets used in the operation of
  the facilities, or in the event there is a change in the form of ownership of the Employer, the
  Employer shall give the Union reasonable advance notice thereof in writing, and the Employer
  further agrees that as a condition to any such sale, assignment, or transfer, the Employer will
  obtain from its successor or successors in interest a written assumption of this Agreement and
  furnish a copy thereof to the Union, in which event the assignor shall be relieved of its
  obligations hereunder to the extent that the assignor has fully transferred its right, title, or
  interest.
            13.    The Employer shall incorporate the entirety of paragraphs 4,6, 7, 8, 9, and 10 of
  this of Agreement in any contract, subcontract, lease, sublease, operating agreement,
  franchise agreement or any other agreement or instrument giving a right to any person to
  operate any enterprise in the facilities employing Employees in classifications listed in Exhibit
  A, or in classifications called by different names when performing similar duties, and shall
  obligate any person taking such interest, and any and all successors and assigns of such
  person, to in turn incorporate said paragraphs in any further agreement or instrument giving a
  right as described above. The Employer shall enforce such provisions, or at its option, assign
  its rights to do so to the Union. The Employer shall give the Union written notice of the
  execution of such agreement or instrument and identify the other party(ies) to the transaction
  within 15 days after the agreement or instrument is signed. The terms “Employer” and
  ‘lacilities” shall be modified in such agreement or instrument to conform to the terminology in
  such agreement or instrument but retain the same meaning as in this Agreement, and the
  terms “Employer” and “Employees” as used herein shall be modified to refer, respectively, to
  the person or persons receiving a right to operate an enterprise in the facilities and the
  employees of such person or persons.
         14.    The parties agree that any disputes over the interpretation or application of this
  Agreement shall be submitted to expedited and binding arbitration, with Fredric R. Horowitz
  serving as the arbitrator. If he is unavailable to serve within thirty (30) calendar days of
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    notification then another mutually acceptable person, shall be the arbitrator. The arbitrator
    shall have the authority to determine the arbitration procedures to be followed. The arbitrator
   and court shall also have the authority to issue preliminary equitable relief to enforce this
   Agreement without requiring the posting of a bond. The parties hereto agree to comply with
   any order of the arbitrator, which shall be final and binding. The United States District Court
   for the Central District of California shall have exclusive jurisdiction in any action concerning
   arbitration under this Agreement. The parties consent to the entry of any order of the arbitrator
   as the order or judgment of the Court, without entry of findings of fact and conclusions of law.
   The parties have consulted with counsel prior to entering into this Agreement and no party
   shall challenge the legality of any provision of this Agreement, nor assist anyone else in so
   doing, and breach of such promise shalt result, without limitation, in an award of attorneys’
   fees among other remedies. Any party who unsuccessfully resists arbitration or an arbitration
   award under this Agreement shall be liable for the other party’s legal fees and expenses for
   enforcement. No party has provided any consideration for this Agreement other than that set
   forth in this Agreement.
            15.    This Agreement shall be in full force and effect from the date of the selection
   and award of a franchise(s) from the City of Los Angeles, California to Ware Disposal Inc.
   This agreement between the parties exclusively exists because of Ware Disposal Inc.’s
   participation in the City of Los Angeles, California’s Citywide Exclusive Franchise System for
   Municipal Solid Waste Collection and Handling Request for Proposal issued 11 June 2014. In
   the event Ware Disposal Inc. is awarded a franchise(s) from the City of Los Angeles,
   California, then this Agreement shall be in full force and effect for one (1) year from the date it
   is fully executed, or sooner upon execution of a collective bargaining agreement or issuance of
   an interest arbitration award which concludes the collective bargaining agreement
   negotiations, either of which explicitly supersedes this document. In the event Ware Disposal
   Inc. is not awarded a franchise(s) from the City of Los Angeles, California, this agreement shall
   be terminated with immediate effect.
         IN WITNESS WHEREOF, the parties hereto by their duly designated representatives
   have hereunto set their hands.

   FOR THE EMPLOYER:                                  FOR THE UNION:
  MADISON MATERIALS INC.                              TEAMSTERS LOCAL UNION NO. 396

  By:        --   /                                   By.     I   ~ Ii   ~A.


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                                             EXHIBIT A
   Al regular full-time and regular part-time First Mechanics, Second Mechanics, Third
   Mechanics, Truck Welders, Bin Welders, Bin Repair Employees, Truck Maintenance
   Employees, Tiremen, Painters, Parts Clerks, Fuelers, Truck Washers, Yard Support
   Employees, Transfer Drivers, Dozer Operators, Loader Operators, Yard Operators, Sweepers,
   Laborer, Sorters and Spotters/Traffic Control Employees employed at the facilities, but
   excluding all secretarial, office clerical and sales employees and all managers (which indudes
   the Weighmaster position) and guards as defined under the National Labor Relations Act.
